Case 2:05-cr-20053-SH|\/| Document 28 Filed 07/14/05 Page 1 of 2 Page|D 31

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IN THE UNITED sTATEs DIsTRIcT couRT ,

Fon THE wEsTERN DISTRICT oF TENNESSEE gs`n”_|h AH||,BS
wEsTERN nIv:sIoN

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TMM
KWHB
UNITED sTATES oF AMERICA,

Plaintiff,
vs. CR. NO. 05-20053-Ma

JOHNNY FOSTER,

-._r-._r-._/-._/\_/~.._,~.._,\_/\_/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on. June 24, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. §§ 3l6l(h)(8)(B)(iv) and 3161(h)(1)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the

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need for a speedy trial.

IT IS SO ORDERED this day of July, 2005.

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SAMUEL H. MAYS, JR.
me UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

